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           EXHIBIT F
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June 2013

Lower expense ratios for 11 funds in your retirement plan

On July 15, 2013, the following funds in the Yale University 403(b)(7) Retirement Plan and the 457(b)
Deferred Compensation Plan will become available at a lower cost to you:

•    Vanguard Inflation-Protected Securities Fund
•    Vanguard Total Bond Market Index Fund
•    Vanguard 500 Index Fund
•    Vanguard Total Stock Market Index Fund
                          ™
•    Vanguard Wellington Fund
•    Vanguard PRIMECAP Fund
                        ™
•    Vanguard Windsor Fund
•    Vanguard Windsor II Fund
•    Vanguard Capital Opportunity Fund
•    Vanguard Total International Stock Index Fund
•    Vanguard Emerging Markets Stock Index Fund

The underlying investment portfolio for each fund will remain the same; the only difference will be the
share class. The share class determines the expense ratio—the cost of running the fund, expressed as a
percentage of the fund’s assets, as of the most recent fiscal year.

You benefit from lower expenses
Expense ratios are important because, quite simply, cost matters. Reducing a fund’s expense ratio can
earn you a higher net return because expenses are deducted before you get your return. While you may
not notice much difference in the short term, the difference becomes more pronounced the more you
save and the longer you keep the money invested.

To demonstrate the advantage of a lower expense ratio, consider the following example. The chart below
compares the returns of a $10,000 investment in two hypothetical funds. The funds are identical except
for their expense ratios. The example assumes a 6% average annual return.

                                                         Return on investment after . . .
Investment                  Expense ratio                10 years               25 years
Fund A                      0.25%                        $7,467                 $30,322
Fund B                      0.08%                        $7,766                 $32, 069
Difference                  0.17%                        $299                   $1,747

Note: This hypothetical example does not represent any particular investment and does not reflect any taxes or penalties that may
be due upon distribution. Withdrawals from a tax-deferred plan before age 59½ are subject to a 10% federal penalty tax unless an
exception applies.

No action required
Balances and future contributions invested in any of the current share classes listed will move to the new
share classes automatically at market close on July 12.
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Expense ratio comparison
This table compares the expense ratios of the current and new share classes as of March 31, 2013.

                                            Current                                                       New            Savings
                                            expense                                                     expense         per $1,000
Current fund share class                      ratio       New fund share class                            ratio          invested
Vanguard Inflation-Protected                              Vanguard Inflation-Protected
                                             0.20%                                                       0.07%                $1.30
Securities Fund Investor Shares                           Securities Fund Institutional Shares
Vanguard Total Bond Market Index                          Vanguard Total Bond Market Index
                                             0.22%                                                       0.07%                $1.50
Fund Investor Shares                                      Fund Institutional Shares
Vanguard 500 Index Fund Investor                          Vanguard Institutional Index Fund
                                             0.17%                                                       0.04%                $1.30
Shares                                                    Institutional Shares*
Vanguard Total Stock Market Index                         Vanguard Total Stock Market Index
                                             0.18%                                                       0.05%                $1.30
Fund Investor Shares                                      Fund Institutional Shares
                                                                                                  ™
Vanguard Wellington Fund Investor                         Vanguard Wellington Fund Admiral
                                             0.25%                                                       0.17%                $0.80
Shares                                                    Shares
Vanguard PRIMECAP Fund                                    Vanguard PRIMECAP Fund Admiral
                                             0.45%                                                       0.36%                $0.90
Investor Shares                                           Shares
Vanguard Windsor Fund Investor                            Vanguard Windsor Fund Admiral
                                             0.41%                                                       0.31%                $1.00
Shares                                                    Shares
Vanguard Windsor II Fund Investor                         Vanguard Windsor II Fund Admiral
                                             0.35%                                                       0.27%                $0.80
Shares                                                    Shares
Vanguard Capital Opportunity                              Vanguard Capital Opportunity Fund
                                             0.48%                                                       0.41%                $0.70
Fund Investor Shares                                      Admiral Shares
Vanguard Total International Stock                        Vanguard Total International Stock
                                             0.22%                                                       0.12%                $1.00
Index Fund Investor Shares                                Index Fund Institutional Shares
Vanguard Emerging Markets Stock                           Vanguard Emerging Markets Stock
                                             0.33%                                                       0.12%                $2.10
Index Fund Investor Shares                                Index Fund Institutional Shares

*The institutional share class of Vanguard 500 Index Fund is called Vanguard Institutional Index Fund Institutional Shares.

A note about risk
All investing is subject to risk, including possible loss of principal. While U.S. Treasury or government
agency securities provide substantial protection against credit risk, they do not protect investors against
price changes due to changing interest rates. Although the market values of government securities are
not guaranteed and may fluctuate, these securities are guaranteed as to the timely payment of principal
and interest. Bond funds are subject to the risk that an issuer will fail to make payments on time, and that
bond prices will decline because of rising interest rates or negative perceptions of an issuer's ability to
make payments. Investments in stocks or bonds issued by non-U.S. companies are subject to risks
including country/regional risk and currency risk. These risks are especially high in emerging markets.
                               ®
Connect with Vanguard
Vanguard Participant Services associates are available to assist you at 800-523-1188 Monday through
Friday from 8:30 a.m. to 9 p.m., Eastern time.


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For more information about any fund, including investment objectives, risks, charges, and expenses, call
Vanguard at 800-523-1188 to obtain a prospectus. The prospectus contains this and other important
information about the fund. Read and consider the prospectus information carefully before you invest.
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